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                                                             FILED & ENTERED

                                                                    JAN 07 2019

                            UNITED STATES BANKRUPTCY COURTCLERK U.S. BANKRUPTCY COURT
                                                              Central District of California
                                                              BY evangeli DEPUTY CLERK
                            CENTRAL DISTRICT OF CALIFORNIA

                                 LOS ANGELES DIVISION


In re                                  Case No. 2:18-20151-ER
Verity Health System of                Adv. No. 2:19-ap-01002-ER
California, Inc.,                      Chapter 11
                  Debtor.
________________________ ____
St Vincent Medical Center, a
California nonprofit public
benefit corporation; St                ORDER RE: COURTROOM PROCEDURES
Francis Medical Center, a
California nonprofit public
benefit corporation,

                     Plaintiff,
v.

Local Initiative Health
Authority for Los Angeles
County DBA L.A. Care Health
Plan, an independent local
public agency,

                     Defendant.


             This adversary proceeding or evidentiary matter having been set for

trial or evidentiary hearing for the week of 10/28/2019 at 9:00 a.m. it is hereby:



      ORDERED that the following order shall apply to all matters set for trial or

other proceeding in which evidence shall be taken:




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      1.   Each party shall serve and exchange the following not later than seven

(7) court days prior to trial:     1) a trial   brief, 2) a set of proposed findings of

fact and conclusions of law,     3) trial exhibits, 4) a list of trial exhibits and 5)

a list of witnesses.   Copies of the above must also be delivered directly with

Judge Robles' chambers not later than seven (7) court days prior to trial. (See

also paragraph 1(c)(ii) below).



                  a.   Contents of trial brief

                         i.    The trial brief shall contain all those items set forth

                         in Local Bankruptcy Rule 9013-2;



                         ii.    Unless otherwise ordered, the trial brief shall not

                         exceed twenty (20) pages in length and shall be accompanied

                         by a table of contents and table of authorities.



                  b.   Contents of Proposed Findings of Fact and Conclusions of law




                         i.      The contents of the proposed findings of fact and

                                 conclusions of law shall conform with Local Bankruptcy

                                 Rule 7052-1;



                         ii. The proposed findings of facts shall not contain

                  argument or facts for which there was no evidence submitted.       Each

                  finding of fact shall be supported by a reference to an exhibit or

                  to expected testimony.




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                  c. Trial exhibits (the following procedures govern all exhibits

                  except those used for purposes of impeachment):



                        i.     There shall be sufficient copies of exhibits for the

                               Court, all parties participating in the trial and the

                               witness;



                        ii.    Only the Judge's copies of the exhibits are required

                               to be delivered seven (7) court days prior to trial.

                               Copies for the witness and opposing counsel may be

                               brought to court on the date set for trial.



                        iii.   All copies of exhibits shall be pre-marked prior to

                               lodging with the Judge's chambers and shall conform

                               with the exhibit list.     Exhibit tags are available

                               from the courtroom deputy.     The exhibit tag shall be

                               placed on the document so that it does not obscure any

                               portion of the document.     Otherwise, it may be placed

                               on the reverse of the document;



                        iv.    Plaintiff's (or Movant's) exhibits shall be identified

                               numerically   commencing with "Exhibit 1."    Defendant's

                               (or Respondent's) exhibits shall be marked

                               alphabetically commencing with "Exhibit      "A" through

                               "Exhibit Z." Subsequent exhibits for the Defendant

                               shall be marked "AA" through "AZ", "BA through "BZ",

                               etc. (see Local Bankruptcy Rules 1002-1(f) and 9013-

                               2(b) and;



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                        v.     If a party has in excess of ten (10) exhibits, in

                               addition to tagging the exhibit, that party's exhibits

                               shall be placed in a three ring binder or binders.

                               The exhibits shall be divided by a tab extending

                               beyond the page on the right hand side and the tab

                               shall bear the number or letter of the exhibit.     If a

                               party has less than ten (10) exhibits, each shall have

                               an exhibit tag.



      2.   Demonstrative Evidence:   The Court encourages the use of sketches,

models, diagrams, pictures, summaries, charts, and other demonstrative evidence.

Summaries may be required by the Court in actions on account, preferences, or other

issues involving voluminous documentation of financial transactions.



      3.   Courtroom Etiquette:   Opening statements, oral motions, questioning of

witnesses and closing arguments are to be made from the podium.   Permission must be

obtained before approaching a witness.   Counsel making an objection or addressing

the court shall rise to be recognized.   Following these procedures will ensure that

the electronic recording equipment shall accurately record these proceedings.



      4.   Counsel Tables:   Plaintiff or moving party should utilize the counsel

table in front of and closest to, the witness stand.    The defendant or responding

party should utilize the counsel table furthest from the witness stand.




      It is further ORDERED, that plaintiff (or moving party) is to serve this

order on all parties appearing in the adversary or other evidentiary proceeding and



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must file with the court twenty days from the date of this order a proof of service

demonstrating that service has been made.



It is further ORDERED, that failure to adhere to the above may result in those

sanctions set forth in Local Bankruptcy Rule 9011-1, or such other sanctions as the

Court deems appropriate.




     Date: January 7, 2019




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